The contract in the instant case confers upon Mrs. Andrews the authority to act as the agent of the defendant, Southeastern Greyhound Lines Inc., for the purpose of selling tickets for it. And thus service upon her as agent was service upon Southeastern Greyhound Lines Inc.
                        DECIDED DECEMBER 3, 1946.
E. H. Turner filed suit against Southeastern Greyhound Lines Inc., for damage to baggage, and the return of service on the suit stated: "Served the defendant with copy of the within summons and petition by serving Mrs. Walter Andrews, the officer and agent in charge of the office and place of business of defendant in Rome, Ga., in person with a copy of said summons and petition." The following contract between the defendant and Mrs. Hazel Andrews was introduced in evidence: "This indenture, made this the 30th day of Sep., 1944, by and between Southeastern Greyhound Lines, party of the first part, sometimes hereinafter referred to as `Greyhound,' and Mrs. Hazel Andrews, party of the second part, sometimes hereinafter referred to as `Operator.'
"Witnesseth: That, whereas, Greyhound is a motor common carrier operating in, into, and from the City of Rome, Georgia, upon the public highways of the State in the transportation of passengers, baggage and express; and whereas, Greyhound has the right of possession, use, and occupancy of the passenger motor-bus terminal in Rome, Georgia, located at corner of Fourth Avenue and West Second Street in said City; and whereas, the Operator desires to take possession and to occupy the said terminal and conduct its operations for a period of one year commencing on the 1st day of October, 1944, and ending at the beginning of the 1st day of October, 1945; and whereas Greyhound is willing that Operator shall take possession of and shall occupy and conduct the operations of the said terminal for said period; it is agreed by and between Greyhound and Operator as follows:
"1. Greyhound delivers to operator as of October 1st, 1944, the full and complete possession, custody and control of the terminal and operator accepts delivery thereof.
"2. Operator agrees to maintain and operate the said passenger motor-bus terminal as such for a period of one year, commencing October 1st, 1944, and ending at the beginning of the day on October 1st, 1945; and Greyhound agrees that Operator may so maintain and operate the said passenger motor-bus terminal during said period, subject to the terms and conditions hereinafter set forth.
"3. As consideration and compensation for the above-mentioned undertakings and performances, Greyhound agrees that Operator shall receive ten (10) percent upon the total amount of all tickets and transportation sales made by Operator at said terminal during *Page 550 
the period of this agreement; and Operator shall have the right to whatever revenues she may derive from concessions in said Terminal.
"4. Operator will pay Greyhound as rental for said terminal the sum of $142.50 monthly on or before the 10th day of each calendar month during the said one-year period.
"5. Operator agrees that in consideration of compensation allowed and rental herein specified that she will not handle the business of or allow other motor carrier to use said terminal facilities without first securing the written approval of Greyhound.
"6. Operator agrees to maintain the said Terminal and all its appointments, incidents, and adjuncts at a high standard of efficiency and in a sanitary manner, and to keep good order in and about the Terminal premises and to prohibit the violation of law thereon, and to prevent vagrancy and loitering thereabout; and Operator agrees to maintain a full staff of Terminal personnel adequate to maintain the Terminal and the sale of tickets and the receiving and dispatching and loading and unloading of busses at all times day and night. Greyhound reserves no control over Operator or any of her employees as to how the facilities involved in should be performed. Operator shall limit her activities to the consummation of the results herein specified. Greyhound reserves no control whatsoever over the employment, dismissals, compensation of [or] working hours of any of the employees of the Operator. It is expressly understood that Operator is not an agent or representative of Greyhound, but is an independent contractor.
"7. Operator agrees to sell such tickets as company may supply at lawfully published tariff rates and furnish the public any information contained in tariffs, bulletins, circulars, and literature in so far as same is applicable to the transportation of passengers or handling of baggage and express by Greyhound and its affiliated or connecting carriers. Operator shall have no power to bind Greyhound by contract or otherwise except as to the sale of transportation for persons and/or property.
"8. Operator agrees to keep in a separate trust fund the proceeds of any and all tickets and transportation sold for or on behalf of Southeastern Greyhound lines and to remit said proceeds to Greyhound as the agent for the said carrier at such times and *Page 551 
in such manner as Greyhound may from time to time request, subject only to the right of Operator to deduct from said proceeds the amount of ten (10) percent, representing Operator's charges for Terminal accommodations and services rendered by Operator to the said company.
"9. Operator agrees to permit the authorized representatives of Greyhound during all reasonable hours to inspect and check all property of Greyhound and to inspect and audit all records and accounts pertaining to the business of Greyhound which are kept by Operator or her employees and to permit such authorized representatives at their discretion to collect all moneys belonging to Greyhound then in possession of said Operator or her employees.
"10. It is definitely agreed and understood that during the period of this agreement that Greyhound shall not be regarded as being in custody, possession, or control of the said Terminal, but the said Terminal and its operation shall be wholly and completely in the charge, custody, and control of Operator; and that Greyhound shall not be liable or obligated for any liabilities, expense, or debts that may arise out of or in connection with Operator's use, occupancy, and operation of the said terminal (except that Greyhound will pay for all long distance telephone charges incurred by Operator in directly serving Southeastern Greyhound Lines and its patrons); and in the sale of transportation other than that which is over the lines or services of Southeastern Greyhound Lines. Operator shall not be the agent or representative of Southeastern Greyhound Lines Inc., and said company shall not be liable for any of the acts, doings, or representations of Operator in relation to the sale of transportation by Operator over the lines or services of other carriers whose tickets may be sold by Operator at said Terminal.
"11. The Operator as an independent contractor hereby expressly assumes all responsibility for meeting the requirements of any laws, State or Federal, now in effect or which may hereinafter be enacted affecting the employment of her employees particularly with reference to the Workmen's Compensation Laws, State and Federal Social Security Laws, and Fair Standards Labor Act, where such laws are determined to be applicable to the employees of the Operator. *Page 552 
"12. It is agreed by Operator that she will maintain the Terminal and all the incidents thereof, including heating, lighting, and toilet facilities, so as to accommodate courteously and promptly the motor carriers and other patrons of said Terminal, and that the Operator will put forth her best efforts to promote the sale of transportation over the routes of the Southeastern Greyhound Lines.
"13. Operator agrees that, in the event of any violation of any clauses of this agreement or any default in her accounts or remittances, then same shall constitute a sufficient cause for Greyhound to immediately terminate this agreement without notice and Operator hereby authorizes Greyhound to do so in that event. Operator agrees that, upon termination of this contract and unless same is renewed, she and her employees will forthwith vacate said Terminal premises and return the control and custody thereof to Greyhound."
It was admitted by the attorneys for the plaintiff and the defendant that the above contract between the defendant and Mrs. Hazel Andrews was in effect at the time of the damage to the plaintiff's baggage. It was further admitted as evidence that, when occasion demanded, Mrs. Hazel Andrews sold bus tickets for passengers traveling on Greyhound busses.
After the introduction of the aforesaid evidence, the court entered the following judgment: "The traverse to the return of service and the motion to quash service and plea in abatement coming on to be heard before the court by agreement of counsel without the intervention of a jury, after hearing evidence therein, the court finds in favor of said traverse, motion and plea, and it is hereby considered, ordered and adjudged that the service in said case is insufficient, and that no service has been had upon the defendant therein, and the petition is [in] said cause is therefore dismissed."
The contract between Southeastern Greyhound Lines Inc., a foreign corporation leasing the terminal station and equipment to Mrs. Andrews, may be binding as to them. The Code, § 22-1101, provides: "Service of all writs, attachments, and other process necessary to the commencement of any suit against any corporation in any court, except as hereinafter provided, may be perfected by serving any officer or agent of such corporation, or by leaving the same at the place of transacting the usual and ordinary *Page 553 
public business of such corporation, if any such place of business then shall be within the jurisdiction of the court in which said suit may be commenced. The officer shall specify the mode of service in his return." It will be noted that under the contract, particularly paragraph 8, Mrs. Andrews was to "keep in a separate trust fund the proceeds of all tickets and transportation sale for or on behalf of Southeastern Greyhound Lines Inc., and to remit said proceeds to Greyhound as the agent for the said carrier at such times and in such manner as Greyhound may from time to time request." Again, in paragraph 7, "operator shall have no power to bind Greyhound by contract or otherwise except as to the sale of transportation for persons and/or property." And in paragraph 10, "and said company shall not be liable for any of the acts, doings, or representations of operator in relation to the sale of transportation by operator over the lines or services of other carriers whose tickets may be sold by operator at said terminal." The exclusion of liability as to other transportation over other lines or services of other carriers is an implication that Southeastern Greyhound Lines Inc. is bound by the doings and representations of Mrs. Andrews in relation to transportation sale over its own lines. These provisions, to our way of thinking, clearly make her the agent of the company under the provisions of said Code section. And service on her as such agent was service on Southeastern Greyhound Lines Inc. See, in this connection, Central of Ga.Power Co. v. Nolen, 143 Ga. 779 (3) (85 S.E. 945);Southern Bell Tel. c. Co. v. Parker, 119 Ga. 721
(47 S.E. 194); Bell v. New Orleans c. R. Co., 2 Ga. App. 812
(59 S.E. 102). The court erred in directing the verdict in favor of the traverse. The evidence demanded a finding against the traverse.
Judgment reversed. Broyles, C. J., Felton and Parker, JJ.,concur. Sutton, P. J., concurs in the judgment. MacIntyre, J.,dissents.